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                                                 U.S. Department of Justice


                                                 United States Attorney
                                                 Eastern District of New York
RCH                                              271 Cadman Plaza East
F. #2019R00927                                   Brooklyn, New York 11201


                                                 April 14, 2020

By USAfx

Cesar DeCastro, Esq.
7 World Trade Center, 34th Floor
New York, NY 10007

                Re:   United States v. Genaro Garcia Luna
                      Criminal Docket No. 19-576 (BMC)

Dear Counsel:

              Enclosed please find the government’s supplemental discovery in accordance
with Rule 16 of the Federal Rules of Criminal Procedure. Please note the enclosed discovery
contains Protected Material and should be handled consistently with the Protective Order.
The government also requests reciprocal discovery from the defendant.
I.     The Government’s Discovery

       Enclosed please find:

        Florida Division of Corporations records, which are Bates-numbered 0000032706
         to 0000032721, 0000035866 to 0000035890, 0000037811 to 0000037830, and
         0000041481 to 0000041521;
        Financial records, which are Bates-numbered 0000032722 to 0000035782,
         0000035891 to 0000036428, 0000037737 to 0000037810, 0000037831 to
         0000041418, 0000041427 to 0000041480, 0000041580 to 0000054215, and
         0000056921 to 0000056923;
        School records, which are Bates-numbered 0000035783 to 0000035838;
        Business records, which are Bates-numbered 0000035839 to 0000035865;
        Email records, which are Bates-numbered 0000036428 to 0000037736,
         0000054216 to 0000056920, and 0000057077 to 0000057078;
        Photographs, which are Bates-numbered 0000041419 to 0000041426;
        Statements of the defendant, which are Bates-numbered 0000056924 to
         0000057076, and 0000057079 to 0000057081.
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               If you have any questions or requests regarding further discovery or a
disposition of this matter, please do not hesitate to contact me.

                                                  Very truly yours,

                                                  RICHARD P. DONOGHUE
                                                  United States Attorney

                                           By:     /s/ Ryan C. Harris
                                                  Michael P. Robotti
                                                  Ryan C. Harris
                                                  Erin M. Reid
                                                  Assistant U.S. Attorneys
                                                  (718) 254-7000

Enclosures




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